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                 UNITED STATES DISTRICT COURT
                MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                :
         -vs-                           :     No. 3: 23-CR-26-05
ROBERT THOMPSON, aka “Thugga,” :              (JUDGE MANNION)
                     Defendant          :


          GOVERNMENT’S SENTENCING MEMORANDUM

     The defendant, Robert Thompson, is presently scheduled for

sentencing before this Honorable Court on September 26, 2024, after

having entered a plea of guilty to Count 1 of the Indictment, the charge

of Conspiracy to Distribute and Possess with Intent to Distribute

Fentanyl, a Schedule II Controlled Substance, in violation of 21 U.S.C.

§§ 846 and 841(b)(1)(C). The government hereby submits this

sentencing memorandum as an aid to the Court in rendering a just

sentence in this matter.


     Pursuant to the terms of the plea agreement in this case (Doc.

491), the parties agreed to recommend that at least 400 grams of

fentanyl, but less than 1.2 kilograms of fentanyl, are attributable to the

defendant for the purposes of sentencing. Id. at ¶11.



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     The Offense:


     The offense conduct is set forth in detail in the PSR. (See ¶¶ 17-

24). This investigation began on February 18, 2021, after the drug

overdose death of a twenty-eight-year-old woman in Wilkes-Barre. (¶

17). The overdose victim was found alone in her vehicle with the engine

still running. Three small blue pills – each stamped “M-30” – were

found inside her vehicle. The investigation would reveal that the victim

had purchased four small blue pills from a Wilkes-Barre based drug

dealer. She died after ingesting just one pill.


     As the investigation progressed, investigators learned of a wide-

ranging drug trafficking conspiracy involving the trafficking of fentanyl

pills sent via mail from Arizona to Pennsylvania. The indictment

presently before the Court charges a conspiracy beginning in January

2020 through the date of the indictment – February 14, 2023. Many of

the defendants in this indictment were ordering large quantities of

fentanyl pills from, and transmitting cash payments to, one of several

fentanyl sources in Arizona, including Davon Beckford and Tyla Griffin

(both charged in a separate indictment), Shane Burns and/or Burns’

girlfriend, Christina Patacky-Beghin. Packages containing fentanyl
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pills were then sent to Pennsylvania from Arizona via the U.S. Postal

Service.


     The pills were then distributed by conspirators in MDPA.


     Robert Thompson, known as “Thugga,” was a distributor of

fentanyl pills in the Lackawanna and Luzerne County area. His source

for the pills was Tyla Griffin in Arizona (charged in a separate

indictment). Thompson sent money for payment of the pills to Tyla

Griffin via “Cash App.” Tyla Griffin would then mail packages

containing fentanyl pills to addresses associated with Thompson in

Scranton and elsewhere. Text messages and mail tracking receipts

found in Griffin’s phone confirm the transactions between Thompson

and Griffin. “Cash App” records confirm the transactions as well.


     Upon receipt of the pills from Griffin, Thompson distributed the

pills in the Lackawanna/Luzerne County area.


     The plea agreement indicates that Thompson’s role in the

conspiracy involved the distribution of 400 grams to 1.2 kilogram of

fentanyl, a Schedule II controlled substance. The drug weight is based

on the price per pill charged by Tyla Griffin and the typical quantity of

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pills mailed by Griffin from Arizona.


     The Presentence Report:


     The U.S. Probation Office prepared a Presentence Investigation

Report (PSR) in this case. The PSR indicates that the defendant’s total

offense level is 30 and the criminal history category is III, resulting in

an advisory guideline range of 121 to 151 months. PSR ¶ 75.


     The PSR indicates that the defendant has prior adult criminal

convictions for the following offenses:


     ¶ 40 Receiving Stolen Property (Arrested in 2013)

      On October 28, 2013, Robert Thompson possessed and attempted
to use two stolen credit cards in Teaneck, New Jersey

     ¶ 41 Unauthorized Use of a Vehicle – Without Owner Consent
(Arrested in 2014)

      On April 27, 2014, Robert Thompson sat inside a parked vehicle
near 597 East 96th Street in Brooklyn. Nearby police officers conducted
a lawful stop after they detected a strong odor of marijuana from the
vehicle. Officers determined that the defendant did not possess the
required documents to use the vehicle.

     ¶ 42 Criminal Attempt: Theft by Deception False Impression
(Arrested in 2015)

     On February 15, 2015, Robert Thompson attempted to pass a
counterfeit $100 federal reserve note at Roadrunner Convenience Mart
in Tannersville, PA. When searched, the defendant was found in
possession of marijuana and rolling papers.
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    ¶ 43 Fleeing or Attempting to Elude an Officer and Driving While
Operator Privilege Suspended or Revoked (Arrested 2015)

      On August 26, 2015, Robert Thompson was pulled over by police
for speeding on State Route 315 in Plains Township, PA. As officers
approached, Thompson sped away in the vehicle. During a subsequent
pursuit, Thompson turned off the vehicle’s headlights and taillights.
The defendant drove at speeds up to 90 miles per hour and into
opposing traffic until he struck a cement median and lost control into
an open field. The defendant attempted to evade officers on foot but
was quickly apprehended.

     ¶ 44 Driving Under the Influence/Incapable of Driving Safely
(Arrested in 2019)

      Details of the offense have been requested by the U.S. Probation
Office.

     ¶ 45 Possession of Drug Paraphernalia and Driving Without a
License (Arrested in 2018)

      On August 29, 2018, Robert Thompson was pulled over by police
officers for multiple traffic violations on North Meade Street in Wilkes-
Barre. The defendant did not have a valid driver’s license and was in
possession of a bag of marijuana and two Percocet pills.

     ¶ 46 Disorderly Conduct (Arrested in 2020)

     On October 8, 2020, Robert Thompson was pulled over by state
troopers for operating a vehicle at 83 miles per hour in a posted 55
miles per hour zone. Troopers immediately detected an odor of
marijuana from the vehicle. A search of the vehicle resulted in the
seizure of two marijuana cigarettes and a bag of loose marijuana.

      The Criminal History Category here is III.



     Denial of Acceptance of Responsibility

     As the PSR notes, the defendant “has failed to demonstrate that

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he has accepted responsibility.” The PSR indicates the following:

           As set forth in paragraphs 2 through 11, the defendant
     provided almost no compliance to his conditions of federal bond.
     He used controlled substances, failed to secure employment, lied
     to pretrial services, incurred a traffic citation for driving without a
     license, and incurred new drug trafficking charges. It appears a
     reduction for acceptance of responsibility is not applicable. USSG
     § 3E1.1.

See PSR ¶ 27 (emphasis added)
     Indeed, here, denial of acceptance of responsibility is appropriate

under Third Circuit caselaw. (See United States v. Mercado, 81 F. 4th

352 (3d Cir. 2023) (upholding denial of reduction for acceptance of

responsibility based on defendant’s repeated drug use while the case

was pending, his failure to attend treatment, and his failure to submit

to drug testing); United States v. Ceccarani, 98 F.3d 126 (1996)

(acceptance of responsibility denied based on defendant’s testing

positive for drugs on multiple occasions and defendant’s rejection of

opportunity for drug counseling and treatment); United States v.

Albright, 38 Fed Appx. 700 (3d Cir. 2002) (upholding denial of

acceptance of responsibility on basis of drug usage alone).




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     The Sentencing Process:

     District courts engage in a familiar three-step process when

sentencing criminal defendants:

     A district court must begin the process by first calculating the
     applicable sentencing guidelines range. After that initial
     calculation, the court must then rule on any motions for departure
     and, if a motion is granted, state how the departure affects the
     guidelines calculation. Finally, after allowing the parties an
     opportunity for argument, the court must consider all of the §
     3553(a) factors and determine the appropriate sentence to impose,
     which may vary from the sentencing range called for by the
     guidelines.

United States v. Tomko, 562 F.3d 558, 567 (3d Cir. 2009) (en banc).

     As indicated, in the PSR, the U.S. Probation Office determined

that the defendant’s total offense level is 30 and his criminal history

category is III, resulting in an advisory guideline range of 121 to 151

months.


    The Sentencing Factors:
    Under the sentencing statute, the sentence to be imposed needs to

reflect the seriousness of the offense, promote respect for the law,

provide for just punishment, deter others from engaging in similar

conduct, protect the public from further crimes of the defendant, and

provide the defendant with needed educational or vocational training,


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medical care, or other correctional treatment in the most effective

manner. 18 U.S.C. § 3553(a)(2).

          Fentanyl is Killing Americans at an Unprecedented Rate:

          Here, Robert Thompson, known as “Thugga,” is responsible for the

distribution, and possession with intent to distribute, between 400

grams and 1.2 kilograms of fentanyl. The crime is serious. Fentanyl is

a highly addictive and dangerous substance. The amount for which the

defendant is accountable is very significant, particularly when one

considers that the use – literally – of just a few grains or specks of

fentanyl can result in overdose or death. In fact, the investigation in

the present matter began with the accidental overdose death of a

twenty-eight-year-old woman in Wilkes-Barre who ingested one small

pill containing just a few grains amount of fentanyl.


           More than 1 million people have died since 1999 from a drug

overdose. 1 In 2021, 75% of drug overdose deaths involved an opioid,

including prescription opioids, heroin, and fentanyl.2 Overdoses




1 Data Overview | Opioids | CDC
2   Id.
                                          8
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involving opioids killed more than 80,000 people in 2021 and nearly

88% of those deaths involved synthetic opioids like fentanyl. 3

           Provisional data shows that drug overdose deaths in the United

States surpassed 100,000 in 2022. 4 Fentanyl was responsible for 73,654

of those deaths.5 Fentanyl deaths have increased every year for the

past decade. 6

           In April 2022, DEA administrator Anne Milgram outlined the

current fentanyl overdose threat and stated, “Fentanyl is killing

Americans at an unprecedented rate. Already this year, numerous

mass-overdose events have resulted in dozens of overdoses and deaths.

Drug traffickers are driving addiction, and increasing their profits, by

mixing fentanyl with other illicit drugs. Tragically, many overdose

victims have no idea they are ingesting deadly fentanyl, until it’s too

late.”7 (This is precisely what happened in the present investigation.

The accidental overdose victim in Wilkes-Barre thought she was


3   Id.
4 Provisional Data Shows U.S. Drug Overdose Deaths Top 100,000 in

2022 | Blogs | CDC
5 Are fentanyl overdose deaths rising in the US? (usafacts.org)
6 Id.
7 https://www.dea.gov/press-releases/2022/04/06/dea-warns-increase-

mass-overdose-events-involving-deadly-fentanyl
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ingesting a Percocet pill.)


     According to the Pennsylvania Attorney General’s Office, the

opioid epidemic is the number one public health and public safety

challenge facing Pennsylvania. 8 Pennsylvania’s overdose death rate is

71.9% higher than the national average overdose death rate.9 Over 6%

of nationwide overdose deaths occur in Pennsylvania. 10 As this Court is

well aware, the opioid epidemic continues to impact the Middle District

of Pennsylvania.


     In August 2023, the Pennsylvania Department of Health issued

their findings regarding fatal and non-fatal overdoses in Pennsylvania

in 2021. 11 In 2021, 5,356 drug overdose deaths occurred in

Pennsylvania and 85% were confirmed to be opioid related. 12




8 Opioid Battle – PA Office of Attorney General
9 Drug Overdose Death Statistics [2023]: Opioids, Fentanyl & More

(drugabusestatistics.org)
10 Drug Overdose Death Statistics [2023]: Opioids, Fentanyl & More

(drugabusestatistics.org)
11
   Pennsylvania Overdose Data Brief 2021.pdf (pa.gov)
12 Pennsylvania Overdose Data Brief 2021.pdf (pa.gov)

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           Importantly, for every drug overdose that results in death, there

are many more nonfatal overdoses. 13 People who have had at least one

overdose are more likely to have another. 14 Between January 1, 2018,

and July 15, 2023, Pennsylvania emergency service personnel

administered 89,360 doses of Naloxone.15 During that same time

period, there were 52,570 emergency room visits for opioid overdoses. 16

Accordingly, there are scores of individuals living with addiction and

committing crimes to support their habits. Crime increases when

addicts deplete their savings and bargain away their possessions to

support their habit.

           Interviews of drug users and treatment personnel indicate that

users often experience multiple drug overdoses in the course of their

drug use, and “widespread naloxone availability has resulted in many

lives saved.” 17 In addition to the overdoses, the economic and social

costs to the community are overwhelming. Fentanyl, heroin, and other


13 Understanding Drug Overdoses and Deaths | Drug Overdose | CDC

Injury Center
14 Understanding Drug Overdoses and Deaths | Drug Overdose | CDC

Injury Center
15 Pennsylvania Opioids | PA Open Data Portal
16 Pennsylvania Opioids | PA Open Data Portal
17   Id.
                                        11
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opioids tear apart families, and the community is left to support loved

ones left behind. It has impacted families across all racial groups,

geographic regions and socioeconomic classes. 18

     This Court should consider these statistics and the havoc that

fentanyl and the other opioids are wreaking in our community when it

imposes its sentence in this case.


     Here, Robert Thompson was part of a wide-spread fentanyl

trafficking conspiracy that wreaked havoc in our community. The

conspiracy in which he participated was responsible for distributing

thousands of fentanyl pills on the streets of Northeastern Pennsylvania.

He is personally accountable for distributing a large amount of fentanyl

– 400 grams to 1.2 kilograms – a huge amount considering the fact that

just a few specks of fentanyl can cause death. He has seven prior adult

convictions. His behavior while on pretrial services supervision is very

concerning – with repeated positive drug screens for controlled

substances, a citation for driving without a license, lying to his

probation officer, failing to seek employment, failing to seek drug

treatment, reporting to Pretrial Services while “hungover” – all


18 https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7829093/

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culminating in an arrest in Scranton in March 2024 for conspiracy to

deliver or possess with intent to deliver fentanyl and cocaine base –

conduct similar to that for which the defendant is about to be sentenced.

(PSR ¶¶ 2-11, 48).


     From the government’s perspective, the important factors set forth

in 18 U.S.C. §3553(a) which the Court must consider in imposing a

sentence on this defendant include the need for the sentence to:


     • reflect the seriousness of the offense,

     • promote respect for the law,

     • provide just punishment for the offense,

     • afford adequate deterrence to criminal conduct and

     • protect the public from further crimes of the defendant.


(See 18 U.S.C. § 3553(a)).




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     Based on the above, the government recommends that this Court

impose a sentence which is within – and not below – the advisory

guideline range of 121 to 151 months




                                        Respectfully submitted,


                                        GERARD M. KARAM
                                        United States Attorney


                                    By: /s/ ROBERT J. O’HARA
                                       ROBERT J. O’HARA
                                       Assistant U.S. Attorney
Date: September 20, 2024




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                UNITED STATES DISTRICT COURT
               MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                :
        -vs-                            :     No. 3: 23-CR-26-05
ROBERT THOMPSON, aka “Thugga,” :              (JUDGE MANNION)
                    Defendant           :


                     CERTIFICATE OF SERVICE



      The undersigned hereby certifies that she is an employee in the
Office of the United States Attorney for the Middle District of
Pennsylvania and is a person of such age and discretion as to be
competent to serve papers.



     That on September 20, 2024, she served a copy of the attached:

        GOVERNMENT’S SENTENCING MEMORANDUM

By email to:

Attorney Joseph M. Blazosek
Counsel for the Defendant


                                 /s/ Terri L. Pendolphi
                                 Terri L. Pendolphi
                                 Legal Administrative Specialist




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